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 1   SO. CAL. EQUAL ACCESS GROUP
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 6   Attorneys for Plaintiff
     MISTER BAILEY
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     MISTER BAILEY,                                    Case No.: 2:21-cv-02053-CJC (Ex)
11
12                Plaintiff,
                                                       NOTICE OF VOLUNTARY
13         vs.                                         DISMISSAL OF ENTIRE ACTION
                                                       WITH PREJUDICE
14
     ST ANDREWS PLACE INC; KING’S
15   ENTERPRISES, INC.; and DOES 1 to 10,
16
                  Defendants.
17
18
19         PLEASE TAKE NOTICE that MISTER BAILEY
20   (“Plaintiff”) pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby
21   voluntarily dismisses the entire action with prejudice pursuant to Federal Rule of Civil
22   Procedure Rule 41(a)(1) which provides in relevant part:
23         (a) Voluntary Dismissal.
24                (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
25                       and any applicable federal statute, the plaintiff may dismiss an action
26
                         without a court order by filing:
27
                         (i)     A notice of dismissal before the opposing party serves either an
28
                                 answer or a motion for summary judgment.

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          NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
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 1   None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 2   summary judgment. Accordingly, this matter may be dismissed without an Order of the
 3   Court.
 4
 5   DATED: June 7, 2021            SO. CAL. EQUAL ACCESS GROUP
 6
 7                                  By:      /s/ Jason J. Kim
 8                                        Jason J. Kim, Esq.
                                          Attorneys for Plaintiff
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          NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
